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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       LARRY GOLDEN,                                    Case No. 22-cv-05246-HSG
                                   8                    Plaintiff,                          ORDER GRANTING MOTION TO
                                                                                            DISMISS WITH LEAVE TO AMEND
                                   9             v.
                                                                                            Re: Dkt. No. 11
                                  10       GOOGLE LLC,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           Pending before the Court is Google’s motion to dismiss. Dkt. No. 11 (“MTD”). In

                                  14   response to the motion, pro se plaintiff Larry Golden filed a “Response to Defendant’s Motion to

                                  15   Dismiss and Cross-Motion for Summary Judgment.” Dkt. No. 18 (“MTD Opp. and Cross-MSJ”).

                                  16   Google filed a reply to its motion to dismiss (Dkt. No. 20) and an opposition to Plaintiff’s cross-

                                  17   motion for summary judgment (Dkt. No. 22). Plaintiff filed a reply to his cross-motion for

                                  18   summary judgment. Dkt. No. 26. The Court finds this matter appropriate for disposition without

                                  19   oral argument and the matter is deemed submitted. See Civil L.R. 7-1(b). For the reasons

                                  20   discussed below the Court GRANTS WITH LEAVE TO AMEND Google’s motion to dismiss

                                  21   and DENIES AS MOOT Plaintiff’s cross-motion for summary judgment WITHOUT

                                  22   PREJUDICE.1

                                  23

                                  24   1
                                         Also pending before the Court are Google’s motion to strike (Dkt. No. 12) and Mr. Golden’s
                                  25   motion for permanent injunctive relief (Dkt. No. 17) and cross-motion to strike (Dkt. No. 19).
                                       Because this order dismisses the complaint with leave to amend, these motions are deemed
                                  26   submitted and are DENIED AS MOOT WITHOUT PREJUDICE. The Court suggests that
                                       Defendant carefully consider whether to renew the motion to strike if an amended complaint is
                                  27   filed, as such motions are often a poor use of judicial and party resources. See Z.A. ex rel. K.A. v.
                                       St. Helena Unified Sch. Dist., No. C 09-03557 JSW, 2010 WL 370333, at *2 (N.D. Cal. Jan. 25,
                                  28   2010) (explaining that “[m]otions to strike are regarded with disfavor because they are often used
                                       as delaying tactics and because of the limited importance of pleadings in federal practice”).
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                                           I.   FACTUAL BACKGROUND
                                   1
                                                In 2021, Mr. Golden filed a similar case against Google in South Carolina concerning the
                                   2
                                       same patents-in-suit. See Golden v. Google, No, 21-244, Dkt. No. 1 (D.S.C. Jan 26, 2021).2 The
                                   3
                                       district court dismissed without leave to amend. Golden v. Google, LLC, No. 6:21-CV-00244-JD-
                                   4
                                       KFM, 2021 WL 5083804, at *3 (D.S.C. Nov. 2, 2021), vacated and remanded sub nom. Golden v.
                                   5
                                       Apple Inc., No. 2022-1229, 2022 WL 4103285 (Fed. Cir. Sept. 8, 2022). The Federal Circuit
                                   6
                                       vacated the dismissal, stating that its decision “[did] not preclude subsequent motions to dismiss
                                   7
                                       by the defendant for failure to state a claim or for summary judgment,” and “expresse[d] no
                                   8
                                       opinion as to the adequacy of the complaint or claim chart except that it is not facially frivolous.”
                                   9
                                       Golden v. Apple Inc., No. 2022-1229, 2022 WL 4103285, at *2 (Fed. Cir. Sept. 8, 2022).
                                  10
                                                Within a week of the Federal Circuit’s decision, Plaintiff filed this case.3 Plaintiff brings
                                  11
                                       three counts of patent infringement, alleging that Google infringed U.S. Patent Nos. 10,163,287
                                  12
Northern District of California




                                       (“’287 Patent”), 9,589,439 (“’439 Patent”), and 9,096,189 (“’189 Patent”). See generally Dkt. No.
 United States District Court




                                  13
                                       1 (“Compl.”). The Complaint alleges that several Google smartphones infringe the patents and
                                  14
                                       that Google sells a “material component of something that is patented (i.e., Plaintiff’s CMDC
                                  15
                                       devices).”4 See Compl. at 2; id. ¶¶ 13-14. Plaintiff further alleges that “Google and Apple are
                                  16
                                       jointly infringing Plaintiff’s patented CMDC devices by offering for use, using, offering for sale,
                                  17
                                       selling and/or importing as essential, Google’s Search for use with Google and Apple
                                  18
                                       smartphones,” in a manner that directly infringes several claims of each of the patents-in-suit. See
                                  19
                                       id. ¶ 24. Plaintiff makes similar claims of joint infringement regarding Google and Qualcomm.
                                  20
                                       See id. ¶ 35.
                                  21
                                                Google now moves to dismiss, arguing that Plaintiff fails to allege direct or indirect
                                  22
                                       infringement. See generally MTD.
                                  23

                                  24

                                  25
                                       2
                                         This Court has previously described Mr. Golden’s extensive litigation history and will not repeat
                                       it here. See Golden v. Qualcomm, Inc., No. 22-CV-03283-HSG, 2023 WL 2530857, at *1 (N.D.
                                  26   Cal. Mar. 15, 2023).
                                       3
                                         In April 2023, the District of South Carolina dismissed the case before it without prejudice
                                  27   because it was duplicative of this case. See Golden v. Google, No, 21-244, Dkt. No. 44 (D.S.C.
                                       April 19, 2023).
                                  28
                                       4
                                         Plaintiff defines “CMDC devices” as “communicating, monitoring, detecting, and controlling”
                                       devices. See Compl. at 7.
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                                        II.   LEGAL STANDARD
                                   1
                                              Federal Rule of Civil Procedure 8(a) requires that a complaint contain “a short and plain
                                   2
                                       statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A
                                   3
                                       defendant may move to dismiss a complaint for failing to state a claim upon which relief can be
                                   4
                                       granted under Rule 12(b)(6). “Dismissal under Rule 12(b)(6) is appropriate only where the
                                   5
                                       complaint lacks a cognizable legal theory or sufficient facts to support a cognizable legal theory.”
                                   6
                                       Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). To survive a Rule
                                   7
                                       12(b)(6) motion, a plaintiff need only plead “enough facts to state a claim to relief that is plausible
                                   8
                                       on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible
                                   9
                                       when a plaintiff pleads “factual content that allows the court to draw the reasonable inference that
                                  10
                                       the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
                                  11
                                              In reviewing the plausibility of a complaint, courts “accept factual allegations in the
                                  12
Northern District of California




                                       complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”
 United States District Court




                                  13
                                       Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). Nevertheless,
                                  14
                                       courts do not “accept as true allegations that are merely conclusory, unwarranted deductions of
                                  15
                                       fact, or unreasonable inferences.” In re Gilead Scis. Secs. Litig., 536 F.3d 1049, 1055 (9th Cir.
                                  16
                                       2008) (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)).
                                  17
                                              The Court also need not accept as true allegations that contradict matter properly subject to
                                  18
                                       judicial notice or allegations contradicting the exhibits attached to the complaint. Sprewell, 266
                                  19
                                       F.3d at 988. And even where facts are accepted as true, “a plaintiff may plead [him]self out of
                                  20
                                       court” if he “plead[s] facts which establish that he cannot prevail on his ... claim.” Weisbuch v.
                                  21
                                       Cty. of Los Angeles, 119 F.3d 778, 783 n.1 (9th Cir. 1997) (quotation omitted).
                                  22
                                              Additionally, “[p]leadings must be construed so as to do justice.” Fed. R. Civ. P. 8(e).
                                  23
                                       “[A] pro se complaint, however inartfully pleaded, must be held to less stringent standards than
                                  24
                                       formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quotation
                                  25
                                       omitted). However, even a “liberal interpretation of a . . . complaint may not supply essential
                                  26
                                       elements of the claim that were not initially pled.” See Ivey v. Bd. of Regents of Univ. of Alaska,
                                  27
                                       673 F.2d 266, 268 (9th Cir. 1982). “[P]ro se litigants are bound by the rules of procedure,”
                                  28
                                                                                          3
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                                   1   Ghazali v. Moran, 46 F.3d 52, 54 (9th Cir. 1995), which require “a short and plain statement of

                                   2   the claim showing that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a).

                                   3          Even if the court concludes that a 12(b)(6) motion should be granted, the “court should

                                   4   grant leave to amend even if no request to amend the pleading was made, unless it determines that

                                   5   the pleading could not possibly be cured by the allegation of other facts.” Lopez v. Smith, 203

                                   6   F.3d 1122, 1127 (9th Cir. 2000) (en banc) (quotation omitted).

                                   7   III.   DISCUSSION
                                   8          A.    Direct Infringement
                                   9          Google argues that “Mr. Golden alleges that some Google Pixel devices could infringe his

                                  10   asserted patents if a user were to add an additional application, ATAK, which Mr. Golden admits

                                  11   that Google does not make or sell.” MTD at 6 (emphasis in original). Google contends that “Mr.

                                  12   Golden thus alleges not that Google sells infringing Pixel devices, but that someone else could
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                                  13   modify Google’s Pixel devices, by adding non-Google software, to make them allegedly

                                  14   infringing.” Id. (emphasis in original). Google argues that these allegations are not sufficient to

                                  15   support an infringement claim. Id. The Court agrees.

                                  16          “[T]hat a device is capable of being modified to operate in an infringing manner is not

                                  17   sufficient, by itself, to support a finding of infringement.” Telemac Cellular Corp. v. Topp

                                  18   Telecom, Inc., 247 F.3d 1316, 1330 (Fed. Cir. 2001). The Federal Circuit has made it clear that its

                                  19   precedent “does not stand for the proposition . . . that infringement may be based upon a finding

                                  20   that an accused product is merely capable of being modified in a manner that infringes the claims

                                  21   of a patent.” Fantasy Sports Properties, Inc. v. Sportsline.com, Inc., 287 F.3d 1108, 1117–18

                                  22   (Fed. Cir. 2002). At bottom, “a device does not infringe simply because it is possible to alter it in

                                  23   a way that would satisfy all the limitations of a patent claim.” High Tech Med. Instrumentation,

                                  24   Inc. v. New Image Indus., Inc., 49 F.3d 1551, 1555 (Fed. Cir. 1995). The Federal Circuit has

                                  25   applied this principle in cases involving the modification of hardware through the addition of

                                  26   software. See Nazomi Commc’ns, Inc. v. Nokia Corp., 739 F.3d 1339, 1346 (Fed. Cir. 2014)

                                  27   (finding that the defendants’ products “do not infringe without modification—the modification of

                                  28   installing the required software”).
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                                   1             Even under the “less stringent standards” afforded pro se plaintiffs, Erickson, 551 U.S. at

                                   2   94 (quotation omitted), Plaintiff’s claims, as pled, only allege that Google’s devices infringe the

                                   3   patents in issue if the end user downloads a particular application. Plaintiff includes a claim chart

                                   4   purporting to describe the components of the Google Pixel 5 (which Plaintiff asserts is

                                   5   “representative of all the alleged infringing products of Google asserted in this complaint”) that

                                   6   allegedly map onto the elements of an independent claim for each of the asserted patents.5 See

                                   7   Compl. ¶ 53. As the below excerpt of Plaintiff’s chart indicates, however, at least two elements of

                                   8   each independent claim included in the chart are allegedly satisfied only when the phone has the

                                   9   Android Team Awareness Kit (ATAK) downloaded.

                                  10
                                                Google Pixel 5                   Patent #:        Patent #: 9,589,439; Patent # 9,096,189;
                                  11             Smartphone                     10,163,287;       Independent Claim Independent Claim
                                  12                                      Independent Claim                  23                   1
Northern District of California




                                                                                     5
 United States District Court




                                  13              Android Team            at least one sensor for the cell phone is at  the communication
                                             Awareness Kit, ATAK          chemical, biological,        least a fixed,    device is at least a
                                  14          (built on the Android       or human detection in     portable or mobile   fixed, portable or
                                                operating system)          communication with         communication           mobile
                                  15
                                              provides for a single       the at least one CPU;           device          communication
                                  16       interface for viewing and                              interconnected to the       device
                                               controlling different                               cell phone detection interconnected to a
                                  17             CBRN-sensing                                       device, capable of   fixed, portable or
                                             technologies, whether                                   wired or wireless    mobile product,
                                  18            that is a wearable                                    communication     capable of wired or
                                                 smartwatch that                                    therebetween; and         wireless
                                  19
                                            measures a warfighter’s                                                       communication
                                  20       vitals (e.g., heart rate) or                                                  therebetween . . .
                                             a device mounted on a
                                  21        drone to detect chemical
                                                 warfare agents.
                                  22              Android Team            one or more detectors      at least one of a        wherein the
                                  23         Awareness Kit, ATAK            in communication        chemical sensor, a      communication
                                              (built on the Android        with the at least one   biological sensor, an   device receives a
                                  24         operating system) is a        CPU for detecting at     explosive sensor, a    signal via any of
                                                digital application       least one of chemical,     human sensor, a          one or more
                                  25        available to warfighters            biological,         contraband sensor,     products listed in
                                  26
                                       5
                                  27     In addition to the independent claims included in the claim chart, Plaintiff also alleges
                                       infringement of independent claims 4 and 6 of the ’287 patent, 13, 14, and 15 of the ’439 patent,
                                  28   and 2 and 3 of the ’189 patent. See Compl. ¶¶ 42, 46, 50. But he provides no detail whatsoever
                                       about his theory of infringement for these claims.
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                                              throughout the DoD.         radiological, or        or a radiological     any of the plurality
                                   1       ATAK offers warfighters       explosive agents;       sensor capable of      of product grouping
                                   2        geospatial mapping for                                 being disposed            categories;
                                             situational awareness                               within, on, upon or
                                   3         during combat—on an                                  adjacent the cell
                                           end-user device such as a                                   phone;
                                   4        smartphone or a tablet.
                                                 With DTRA’s
                                   5
                                           contribution, ATAK now
                                   6           includes chemical,
                                            biological, radiological,
                                   7          and nuclear (CBRN)
                                                    plug-ins.
                                   8
                                       See Compl. ¶ 53 at 23, 26-27.
                                   9
                                                 Even affording Plaintiff the benefit of the doubt, his own claim chart makes it clear that
                                  10
                                       Defendant’s products purportedly infringe because of the characteristics of the ATAK application.
                                  11
                                       But Plaintiff’s complaint alleges that ATAK is not made by Google, and he does not allege that
                                  12
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 United States District Court




                                       ATAK comes pre-loaded on Google phones:
                                  13
                                                        Through collaboration and innovation, the Defense Threat Reduction
                                  14                    Agency has integrated its powerful, hazard-awareness-and-response
                                                        tools into the Android Tactical Assault Kit (or the Android Team
                                  15                    Awareness Kit, ATAK). ATAK is a digital application available to
                                                        warfighters throughout the DoD. Built on the Android operating
                                  16                    system, ATAK offers warfighters geospatial mapping for situational
                                                        awareness during combat — on an end-user device such as a
                                  17                    smartphone or a tablet. With DTRA’s contribution, ATAK now
                                                        includes chemical, biological, radiological, and nuclear (CBRN)
                                  18                    plug-ins.
                                  19   See Compl. ¶ 18 at 13 (emphasis in original). Accordingly, the Court finds that Plaintiff fails to
                                  20   adequately allege direct infringement by Google.6
                                  21            B.     Indirect Infringement
                                  22             “There are two types of indirect patent infringement: inducement and contributory
                                  23   infringement.” Redd Grp., LLC v. Glass Guru Franchise Sys., Inc., No. 12-CV-04070-JST, 2013
                                  24

                                  25   6
                                         Plaintiff does not engage directly with Google’s argument in his opposition. Instead, he argues
                                  26   that Google’s motion to dismiss is barred by “issue preclusion” as a result of the 2022 appeal to
                                       the Federal Circuit (and the underlying South Carolina case). See MTD Opp. and Cross-MSJ at
                                  27   1, 5-6. In its opinion, however, the Federal Circuit specifically stated that its “decision does not
                                       preclude subsequent motions to dismiss by the defendant for failure to state a claim.” Golden v.
                                  28   Apple Inc., No. 2022-1229, 2022 WL 4103285, at *2 (Fed. Cir. Sept. 8, 2022). Issue preclusion
                                       does not bar Google’s motion to dismiss.
                                                                                         6
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                                   1   WL 3462078, at *4 (N.D. Cal. July 8, 2013) (citing 35 U.S.C. §§ 271(b)-(c)). “Liability for either

                                   2   active inducement of infringement or for contributory infringement is dependent upon the

                                   3   existence of direct infringement,” and “[t]here can be no inducement or contributory infringement

                                   4   without an underlying act of direct infringement.” Linear Tech. Corp. v. Impala Linear Corp.,

                                   5   379 F.3d 1311, 1326 (Fed. Cir. 2004) (quotations omitted).

                                   6            Because Plaintiff fails to allege direct infringement, the Court finds that he also fails to

                                   7   allege indirect infringement. Id.

                                   8           C.    Leave to Amend
                                   9            Google asks the Court to deny leave to amend “because Mr. Golden’s infringement theory

                                  10   confirms that amendment would be futile.” MTD at 8. The Court cannot say at this stage that

                                  11   amendment necessarily would be futile, and so follows the standard course of granting leave for

                                  12   Plaintiff to amend to correct the identified deficiencies, if he can truthfully do so.
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 United States District Court




                                  13   IV.      CONCLUSION
                                  14            Google’s motion to dismiss (Dkt. No. 11) is GRANTED WITH LEAVE TO AMEND.

                                  15            Any amended complaint must be filed within 28 days from the date of this Order.

                                  16            Google’s motion to strike (Dkt. No. 12), and Mr. Golden’s cross-motion for summary

                                  17   judgment (Dkt. No. 18), motion for permanent injunctive relief (Dkt. No. 17), and cross-motion

                                  18   to strike (Dkt. No. 19) are DENIED AS MOOT WITHOUT PREJUDICE to being re-filed if

                                  19   the case proceeds beyond the motion to dismiss stage.

                                  20   //

                                  21   //

                                  22   //

                                  23   //

                                  24   //

                                  25   //

                                  26   //

                                  27   //

                                  28   //
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                                   1            The Court further STRIKES Dkt. No. 36, styled as Plaintiffs’ objection to Defendants’

                                   2   requests regarding case management conference scheduling, and Dkt. Nos. 39 and 40, Plaintiffs’

                                   3   purported “supplemental authority,” for failure to comply with Civil L.R. 7-3 (directing that, with

                                   4   limited exceptions, “[o]nce a reply is filed, no additional memoranda, papers or letters may be

                                   5   filed without prior Court approval”).

                                   6            Finally, in light of the number and length of Plaintiff’s filings that have not complied with

                                   7   this District’s Local Rules, it is further ORDERED that unless and until otherwise ordered,

                                   8   Plaintiff may not file any document other than the amended complaint discussed above without

                                   9   advance leave of Court.

                                  10            IT IS SO ORDERED.

                                  11   Dated:     8/10/2023

                                  12                                                     ______________________________________
Northern District of California
 United States District Court




                                                                                         HAYWOOD S. GILLIAM, JR.
                                  13                                                     United States District Judge
                                  14

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